






NO. 07-06-0405-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 23, 2006


______________________________



ROSETTA MATTHEWS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 52,396-E; HONORABLE ABE LOPEZ, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant, Rosetta Matthews, appeals from her conviction for possession of a
controlled substance in a drug free zone.  Sentence was imposed on July 13, 2006. 
Certified copies of the Judgment have been delivered to this Court from the trial court
clerk's office.   We will dismiss the appeal for want of jurisdiction.

	Our appellate jurisdiction over a criminal appeal is triggered through a timely notice
of appeal.  Olivo v. State, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996).  In the absence of
a notice of appeal timely filed in compliance with the requirements of Rule of Appellate
Procedure 26, a court of appeals does not obtain jurisdiction to address the merits of the
appeal in a criminal case, and can take no action other than to dismiss the appeal.  Slaton
v. State, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998).  As applicable here, Rule of
Appellate Procedure 26.2(a) requires a notice of appeal in a criminal case be filed within
30 days after the day sentence is imposed or suspended in open court, or within 90 days
after imposition of the sentence if a timely motion for new trial is filed.  Rule 26.3 allows for
an extension of time if the appellant files a notice of appeal with the trial court within 15
days after the deadline for filing the notice of appeal and files a motion for extension with
the appellate court.  

	Here, the record reflects that the court imposed sentence on appellant on July 13,
2006.  No motion for new trial was filed, thus making the notice of appeal due on August
14, 2006.   The notice of appeal was filed October 6, 2006.  Appellant's failure to file a
timely notice of appeal or to meet the requirements for an extension under Rule 26.3
prevents this court from having jurisdiction over her appeal.  Slaton, 981 S.W.2d at 210. 

 	Consequently, the appeal is dismissed for want of jurisdiction.  


						Mackey K. Hancock

						        Justice


Do not publish.  


